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                                                                                       MAR 6    2020
                       IN THE UNITED STATES DISTRICT COURT
                                                                                 MITCHELL R. ELFERS
                            FOR THE DISTRICT OF NEW MEXICO                             CLERI(

UNITED STATES OF AMERICA,

               Plaintiff,
                                                     Case No.    l9-077-JB
       vs.

MICHAEL NISSEN,

               Defendant.

                     ORDER CONTINUING SENTENCING HEARING

       THIS MATTER having come before the Court on the written, unopposed motion of the

United States to continue the sentencing hearing in this case, and the Court being fully advised in

the premises, FINDS that the motion is well taken and   willbe   granted.

       IT IS THEREFORE ORDERED that sentencing hearing in the above matter will be

CONTINUED until a future date.
